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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                       Southern District
                                                     __________  DistrictofofCalifornia
                                                                              __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.   '22 MJ3356
                      One silver iPad                                        )
                   DEA SSEE M000128202                                       )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A-6, incorporated herein by reference.

located in the             Southern               District of                 California                , there is now concealed (identify the
person or describe the property to be seized):


 See Attachment B, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ff evidence of a crime;
               0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. 841 and 846                     Possession with the Intent to Distribute Controlled Substances and Conspiracy
                                                  Related Thereto


          The application is based on these facts:
        See Affidavit of DEA Special Agent D. Vargas, which is hereby incorporated by reference and made part hereof.


           ~ Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days:                                     )   is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.   t.


                                                                                                       Applicant’s
                                                                                                       Ap
                                                                                                        ppl
                                                                                                         p icant’s signatu
                                                                                                                   signature

                                                                                                 D. Vargas, DEA Special Agent
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            09/12/2022
                                                                                                         Judge’s signature

City and state: San Diego, California                                                  Hon. Allison Goddard, U.S. Magistrate Judge
                                                                                                       Printed name and title
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 1                                               AFFIDAVIT
 2         I, Special Agent D. Vargas, being duly sworn, hereby state as follows:
 3                                            INTRODUCTION
 4         1.          I submit this affidavit in support of an application for a warrant to search
 5 the following electronic devices:
 6                      One green iPhone (belonging to Charles Phillip SMITH)
                        DEA SSEE S001173184
 7
                        (Target Device 1)
 8                      One black iPhone (belonging to SMITH)
 9                      DEA SSEE S001173185
                        (Target Device 2)
10
                        One blue iPhone (belonging to Kevin Lee HAMPTON)
11                      DEA SSEE S001553937
12                      (Target Device 3)
13                      One blue cracked iPhone (belonging to HAMPTON)
                        DEA SSEE S001173186
14                      (Target Device 4)
15                      One blue (Nike case) iPhone (belonging to HAMPTON)
16                      DEA SSEE S001553938
                        (Target Device 5)
17
                        One silver iPad (belonging to HAMPTON)
18                      DEA SSEE M000128202
                        (Target Device 6) (collectively, the Target Devices)
19
     as further described in Attachments A-1, A-2, A-3, A-4, A-5, and A-6, and to seize
20
     evidence of crimes, specifically violations of Title 21, United States Code, Sections 841
21
     and 846 as further described in Attachment B. The requested warrant relates to the
22
     investigation of SMITH and HAMPTON, who were encountered on or about August 31,
23
     2022, during a traffic stop with approximately 4.56 kilograms (10.05 pounds) of
24
     methamphetamine; 17 oblong-shaped, pharmaceutical-style pills, with pill imprint IP 207
25
     (suspected Acetaminophen and Oxycodone Hydrochloride); and approximately 200 blue,
26
     circular-shaped, pharmaceutical-style pills with “30” inscribed on one side and a boxed
27
     “M” on the other, weighing approximately 62.6 grams (0.14 pounds), that officers
28
     recognized, based on training and experience, as counterfeit Oxycodone 30mg pills
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 1 containing fentanyl and commonly referred to as “M30s,” “blues,” and/or “percs.” Testing
 2 of the pills is awaited. The Target Devices, which were seized during that stop, are
 3 currently in the custody of the Drug Enforcement Administration (DEA) San Diego Field
 4 Division (SDFD), San Diego County Integrated Narcotics Task Force (NTF) Team 8
 5 Office, at the San Diego International Airport (SDIA), 3225 North Harbor Drive, San
 6 Diego, California 92101.
 7         2.     The information contained in this affidavit is based upon my training,
 8 experience, investigation, and consultation with other members of law enforcement.
 9 Because this affidavit is made for the limited purpose of obtaining search warrants for the
10 Target Devices, it does not contain all the information known by me or other agents
11 regarding this investigation. All dates and times described are approximate.
12                                         BACKGROUND
13         3.    I am a Special Agent (SA) Criminal Investigator for the DEA, and I am an
14 investigative or law enforcement officer of the United States within the meaning of Section
15 2510(7) of Title 18 of the United States Code. I am empowered by law to conduct
16 investigations and to make arrests for felony offenses. I was hired by the DEA in July 2020.
17 I am currently assigned to DEA’s SDFD, San Diego County Integrated NTF Team 8, at
18 the SDIA, and have been so assigned since March 2021. NTF Team 8 is comprised of DEA
19 SAs, Task Force Agents (TFAs) from the United States Department of Homeland Security
20 (DHS), Homeland Security Investigations (HSI), and Task Force Officers (TFOs) who are
21 Detectives (federally cross-sworn TFOs) from the San Diego Police Department (SDPD)
22 and San Diego County Sheriff’s Department (SDSD), who primarily investigate illegal
23 drug trafficking organizations operating in the United States and internationally, including
24 those organizations whose operations involve the distribution of wholesale and retail
25 quantities of cocaine, methamphetamine, marijuana, heroin, and their derivatives in and
26 around the San Diego, California area. NTF Team 8 is also responsible for the interdiction
27
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 1 of drugs and drug proceeds being trafficked through SDIA as well as through local bus and
 2 train stations.
 3        4.     I attended the DEA Academy for approximately 14 weeks. At the DEA
 4 Academy, I was trained in the various aspects of conducting narcotics investigations to
 5 include surveillance operations, confidential source management, firearms training, law,
 6 report writing, and undercover operations. In addition, I also was trained in and have had
 7 conversations with other law enforcement officers and agents regarding quantities of poly-
 8 drugs intended for sale and distribution.
 9        5.     In October 2020, I was sworn as a DEA SA and since then I have been
10 involved in over 50 narcotic investigations and have made over 20 arrests for violations of
11 the California Health & Safety Code and Title 21 of the United States Code. These
12 investigations and arrests involved: (1) unlawful importation, exportation, manufacture,
13 possession with intent to distribute, and distribution of narcotics; (2) conspiracies
14 associated with narcotic offenses; and (3) smuggling of narcotics into the United States.
15 These investigations have involved debriefing defendants, witnesses, and informants;
16 conducting surveillance; executing search warrants; seizing narcotics and narcotics-related
17 assets; and making arrests for narcotics-related offenses.
18        6.     Prior to joining DEA, I was a Border Patrol Agent-Intelligence of the United
19 States Customs and Border Protection, United States Border Patrol (USBP), assigned to
20 the Sector Intelligence Unit, and was employed as a full-time, sworn federal agent with the
21 USBP since 2007. I graduated from the USBP Basic Border Patrol Training Academy,
22 which was comprised of a 19-week Training Academy curriculum and covered specialized
23 training in the Immigration and Naturalization Act, criminal law generally, and statutory
24 authority, as well as cross-training in Title 21 of the United States Code – Controlled
25 Substance Act (CSA) violations, and cross-training in Title 19 of the United States Code -
26 Customs laws. I also have been trained in investigating various violations of federal law,
27 including alien smuggling, narcotics smuggling, weapons smuggling, and bulk-currency
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 1 smuggling. I have worked with and learned from other agents and criminal investigators
 2 with extensive experience in these types of investigations as well.
 3          7.    I have debriefed numerous defendants, informants, and witnesses who have
 4 personal knowledge regarding narcotics trafficking organizations. I also have conducted
 5 formal and informal interviews to elicit sensitive information from witnesses, suspects, and
 6 others, including those who are hostile, confrontational, reluctant, and in distress. I am
 7 familiar with narcotics traffickers’ methods of operation, including the manufacture, sales,
 8 distribution, storage, and transportation of controlled substances including, but not limited
 9 to, heroin, methamphetamine, fentanyl, and cocaine.
10          8.    Based upon my training and experience, my participation in the investigation
11 of narcotic organizations, and consultations with law enforcement officers experienced
12 with narcotic trafficking, and all the facts and opinions set forth in this affidavit, I submit
13 the following:
14                a.    Drug traffickers often work in concert utilizing cellular/mobile
                        telephones and tablets1 because they are mobile and provide instant
15
                        access to calls, text messaging capabilities, web, and voice messages.
16                b.    Drug traffickers often use cellular/mobile telephones and tablets in order
17                      to arrange the distribution or possession with the intent to distribute their
                        illegal cargo.
18
                  c.    Drug traffickers often use cellular/mobile telephones and tablets in order
19                      to provide instructions and synchronize an exact drop off and/or pick up
20
     1
          I am aware that certain tablets, including a range of Apple iPads, can connect to
21 cellular services and act as stand-alone mobile devices. I am further aware that, even for
22 iPads that lack cellular capability, they nevertheless have been used by drug traffickers in
   the manner discussed in items a through d due to the wide availability of public and private
23 Wi-fi that makes them similarly mobile to cellular devices. Additionally, iPads also may
24 yield evidence of drug trafficking activities that occur over cellular devices. This is because
   iPads often mirror activity occurring on the user’s iPhone. This is accomplished through
25 Apple iCloud, which is built into every Apple device, enabling users to keep the data on
26 the iPad and iPhone in sync. For example, iCloud enables users to take a photograph with
   their iPhone and find it in the photo library of their iPad without having to connect the
27 phone to the tablet.
28
                                                   4
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                        time of their illegal cargo.
 1
                   d.   Drug traffickers often use cellular/mobile telephones and tablets to notify
 2
                        or warn accomplices of law enforcement activity, including the presence
 3                      and posture of marked and unmarked units.
 4           9.    Based upon my training, experience, consultations with law enforcement
 5 officers experienced in narcotics trafficking investigations, and all the facts and opinions
 6 set forth in this affidavit, I am aware that cellular/mobile telephones and tablets (including
 7 their SIM card(s)) can and often do contain electronic evidence, including, for example,
 8 phone logs and contacts, voice and text communications, and data, such as emails, text
 9 messages, chats and chat logs from various third-party applications, photographs, audio
10 files, videos, and location data. This information can be stored within disks, memory cards,
11 deleted data, remnant data, slack space, and temporary or permanent files contained on or
12 in the cellular telephone and tablet. Specifically, searches of cellular telephones and tablets
13 of individuals involved in the trafficking of narcotics may yield evidence:
14                 a.   tending to indicate efforts to distribute or possess with the intent to
                        distribute federally controlled substances;
15
                   b.   tending to identify accounts, facilities, storage devices, and/or services
16                      – such as email addresses, IP addresses, and phone numbers – used to
17                      facilitate the distribution or possession with the intent to distribute
                        federally controlled substances;
18
                   c.   tending to identify co-conspirators, criminal associates, or others
19                      involved in the distribution or possession with the intent to distribute
20                      federally controlled substances;
                   d.   tending to identify travel to or presence at locations involved in the
21
                        distribution or possession with the intent to distribute federally
22                      controlled substances, such as stash houses, load houses, or delivery
                        points;
23
                   e.   tending to identify the user(s) of, or person(s) with control over or
24                      access to, the Target Devices; and/or
25                 f.   tending to place in context, identify the creator or recipient of, or
26                      establish the time of creation or receipt of communications, records, or
                        data involved in the activities described above.
27
     //
28
                                                   5
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                             FACTS SUPPORTING PROBABLE CAUSE
 1
            10.    On August 31, 2022, at approximately 8:46 p.m., SDPD Officers were
 2
     patrolling in the City of San Diego, California. While patrolling, an officer observed a
 3
     black 2020 Dodge Charger bearing California license plates (the Dodge) traveling north on
 4
     Interstate 5 (I-5) near the Main Street exit at approximately 83 miles per hour, in violation
 5
     of California Vehicle Code (VC) 22349(a) – speeding over 65 miles per hour. The officers
 6
     conducted a traffic enforcement stop on the Dodge, which yielded on I-5 north just south
 7
     of the L Street exit.
 8
            11.    The driver, SMITH, and passenger, HAMPTON, produced identification
 9
     documents. During the encounter, the officer smelled the odor of burned marijuana, and
10
     SMITH admitted to smoking prior to driving the Dodge. The officer requested a narcotics
11
     K-9 officer to respond to the scene. After a short period, a San Diego Sheriff’s Deputy
12
     assigned to the Border Crime Suppression Team (BCST) arrived on scene with his trained
13
     narcotics detection K-9 “Blue,” who is trained to detect and alert to the odor of heroin,
14
     cocaine, methamphetamine, and their derivatives.
15
            12.    During the sniff, Blue alerted to the trunk of the Dodge. After the positive
16
     alert, an officer conducted a search of the Dodge and located a “Inflatable Rectangular
17
     Family Pool” box in the trunk. A search of the box yielded 10 clear, plastic, Ziploc-style
18
     baggies, weighing approximately 4.56 kilograms (10.05 pounds), containing an off-white
19
     crystalline substance, which investigators recognized, based on training and experience, as
20
     methamphetamine. A sample of the substance tested positive for methamphetamine. The
21
     box also contained 17 oblong-shaped, pharmaceutical-style pills, with pill imprint IP 207
22
     (suspected Acetaminophen and Oxycodone Hydrochloride); and a multi-hundred pill
23
     quantity of blue, circular-shaped, pharmaceutical-style pills with “30” inscribed on one
24
     side and a boxed “M” on the other, weighing approximately 62.6 grams (0.14 pounds), that
25
     officers recognized, based on training and experience, as counterfeit Oxycodone 30mg pills
26
     containing fentanyl and commonly referred to as “M30s,” “blues,” and/or “percs.” Testing
27
     of the pills is awaited.
28
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 1         13.   SMITH and HAMPTON were placed under arrest on California State drug
 2 sales offenses and transported to the SDPD Southern Division for processing.
 3         14.   Target Device 1 was found between the center console and driver seat (where
 4 SMITH was seated) of the Dodge. Target Device 2 was found on SMITH’s person. Target
 5 Devices 3 and 5 were found in the passenger seat (where HAMPTON was seated) of the
 6 Dodge. Target Devices 4 and 6 were located in the backseat of the Dodge inside a Louis
 7 Vuitton backpack, which HAMPTON claimed ownership of.
 8         15.   At the SDPD Southern Division, SMITH and HAMPTON claimed ownership
 9 of their respective Target Devices.
10         16.   Based upon my experience, training, consultation with other law enforcement
11 officers experienced in narcotics trafficking investigations, and all the facts and opinions
12 set forth in this affidavit, I believe that telephone numbers, contact names, electronic mail
13 (email) addresses, appointment dates, messages, pictures, and other digital information are
14 stored in the Target Devices and that this data may constitute evidence of crimes as
15 described in Attachment B. I hereby request that the court issue warrants authorizing law
16 enforcement agents and/or other federal and state law enforcement officers to search the
17 Target Devices, and seize the items listed in Attachment B, using the methodology
18 described below.
19         17.   In light of the above facts and my experience and training, I believe that there
20 is probable cause to believe that SMITH and HAMPTON were using the Target Devices
21 to communicate with others to further the distribution or possession with the intent to
22 distribute federally controlled substances. Further, in my training and experience, narcotics
23 traffickers may be involved in the planning and coordination of a drug trafficking event in
24 the days and weeks prior to an event. I am also aware that co-conspirators are also often
25 unaware of a defendant’s arrest and will continue to attempt to communicate with a
26 defendant after their arrest in order to determine the whereabouts of the proceeds.
27 Accordingly, I request permission to search the Target Devices for data beginning on
28
                                                 7
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 1 August 1, 2022 (approximately one month before their arrests), up to and including
 2 September 1, 2022 (the day after the offense).
 3                                        METHODOLOGY
 4         18.    It is not possible to determine, merely by knowing a cellular telephone’s or
 5 tablet’s make, model, and serial number, the nature and types of services to which the
 6 device is subscribed and the nature of the data stored on the device. Devices today can be
 7 simple cellular telephones and text message devices, can include cameras, can serve as
 8 personal digital assistants and have functions such as calendars and full address books and
 9 can be mini-computers allowing for electronic mail services, web services, and
10 rudimentary word processing. An increasing number of service providers now allow for
11 their subscribers to access their device over the internet and remotely destroy all of the data
12 contained on the device. For that reason, the device may only be powered in a secure
13 environment or, if possible, started in “flight mode” which disables access to the network.
14 Unlike typical computers, many cellular telephones and tablets do not have hard drives or
15 hard drive equivalents and store information in volatile memory within the device or in
16 memory cards inserted into the device. Current technology provides some solutions for
17 acquiring some of the data stored in some cellular telephone and tablet models using
18 forensic hardware and software. Even if some of the stored information on the device may
19 be acquired forensically, not all of the data subject to seizure may be so acquired. For
20 devices that are not subject to forensic data acquisition or that have potentially relevant
21 data stored that is not subject to such acquisition, the examiner must inspect the device
22 manually and record the process and the results using digital photography. This process is
23 time and labor intensive and may take weeks or longer.
24         19.    Following the issuance of this warrant, I will collect the Target Devices and
25 subject them to analysis. All analysis of the data contained within the Target Devices and
26 their memory card(s) will employ search protocols directed exclusively to the identification
27 and extraction of data within the scope of the warrants.
28
                                                  8
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 1         20.   Based on the foregoing, identifying and extracting data subject to seizure
 2 pursuant to the warrants may require a range of data analysis techniques, including manual
 3 review, and, consequently, may take weeks or even months. The personnel conducting the
 4 identification and extraction of data will complete the analysis within ninety (90) days,
 5 absent further application to this court.
 6                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 7         21.   Law enforcement has not previously attempted to obtain the evidence sought by
 8 this affidavit.
 9                                         CONCLUSION
10         22.   Based on all of the facts and information set forth above, I submit there is
11 probable cause to believe that a search of the Target Devices will yield evidence of
12 SMITH’s and HAMPTON’s violations of Title 21, United States Code, Sections 841 and
13 846. Accordingly, I request that the Court issue warrants authorizing law enforcement to
14 search the items described in Attachments A-1, A-2, A-3, A-4, A-5, and A-6, and seize the
15 items listed in Attachment B using the above-described methodology.
16        I swear the foregoing is true and correct to the best of my
                                                                    y knowledge and belief.
17
18                                         _____________________________________
                                                    _______________
19                                         D. Vargas
                                           DEA Special Agent
20
21 Sworn and attested to under oath by telephone, in accordance with Federal Rule of
   Criminal Procedure 4.1, this 12th day of September, 2022
22
23
24 HONORABLE ALLISON GODDARD
25 United States Magistrate Judge
26
27
28
                                                 9
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                            ATTACHMENT A-1
                        PROPERTY TO BE SEARCHED
The following property is to be searched:

            One green iPhone (belonging to Charles Phillip SMITH)
            DEA SSEE S001173184
            (Target Device 1)




Target Device 1 is in custody of the Drug Enforcement Administration (DEA) San Diego
Field Division (SDFD), San Diego County Integrated Narcotics Task Force (NTF) Team
8 Office, at the San Diego International Airport (SDIA), 3225 North Harbor Drive, San
Diego, California 92101.
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                            ATTACHMENT A-2
                        PROPERTY TO BE SEARCHED
The following property is to be searched:
            One black iPhone (belonging to SMITH)
            DEA SSEE S001173185
            (Target Device 2)




Target Device 2 is in custody of the DEA SDFD, San Diego County NTF Team 8 Office,
at the SDIA, 3225 North Harbor Drive, San Diego, California 92101.
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                            ATTACHMENT A-3
                        PROPERTY TO BE SEARCHED
The following property is to be searched:
            One blue iPhone (belonging to Kevin Lee HAMPTON)
            DEA SSEE S001553937
            (Target Device 3)




Target Device 3 is in custody of the DEA SDFD, San Diego County NTF Team 8 Office,
at the SDIA, 3225 North Harbor Drive, San Diego, California 92101.
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                            ATTACHMENT A-4
                        PROPERTY TO BE SEARCHED
The following property is to be searched:
            One blue cracked iPhone (belonging to HAMPTON)
            DEA SSEE S001173186
            (Target Device 4)




Target Device 4 is in custody of the DEA SDFD, San Diego County NTF Team 8 Office,
at the SDIA, 3225 North Harbor Drive, San Diego, California 92101.
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                            ATTACHMENT A-5
                        PROPERTY TO BE SEARCHED
The following property is to be searched:
            One blue (Nike case) iPhone (belonging to HAMPTON)
            DEA SSEE S001553938
            (Target Device 5)




Target Device 5 is in custody of the DEA SDFD, San Diego County NTF Team 8
Office, at the SDIA, 3225 North Harbor Drive, San Diego, California 92101.
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                            ATTACHMENT A-6
                        PROPERTY TO BE SEARCHED
The following property is to be searched:
            One silver iPad (belonging to HAMPTON)
            DEA SSEE M000128202
            (Target Device 6)




Target Device 6 is in custody of the DEA SDFD, San Diego County NTF Team 8
Office, at the SDIA, 3225 North Harbor Drive, San Diego, California 92101.
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                               ATTACHMENT B
                             ITEMS TO BE SEIZED

       Authorization to search the electronic devices described in Attachments A-1,
A-2, A-3, A-4, A-5, and A-6 includes the search of disks, memory cards, deleted
data, remnant data, slack space, and temporary or permanent files contained on or in
the electronic device for evidence described below. The seizure and search of the
electronic devices shall follow the search methodology described in the affidavit
submitted in support of the warrants.

       The evidence to be seized from the electronic devices will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of August 1, 2022 (approximately one month before their
arrests), up to and including September 1, 2022 (the day after the offense):
             a.    tending to indicate efforts to distribute or possess with the intent
                   to distribute federally controlled substances;
             b.    tending to identify accounts, facilities, storage devices, and/or
                   services – such as email addresses, IP addresses, and phone
                   numbers – used to facilitate the distribution or possession with
                   the intent to distribute federally controlled substances;
             c.    tending to identify co-conspirators, criminal associates, or others
                   involved in the distribution or possession with the intent to
                   distribute federally controlled substances;
             d.    tending to identify travel to or presence at locations involved in
                   the distribution or possession with the intent to distribute
                   federally controlled substances, such as stash houses, load
                   houses, or delivery points;
             e.    tending to identify the user(s) of, or person(s) with control over
                   or access to, the Target Devices; and/or
             f.    tending to place in context, identify the creator or recipient of, or
                   establish the time of creation or receipt of communications,
                   records, or data involved in the activities described above.
which are evidence of violations of Title 21, United States Code, Sections 841 and
846.
